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                                               1994 15 USCS § 26
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UNITED STATES CODE SERVICE > TITLE 15. COMMERCE AND TRADE > CHAPTER 1.
MONOPOLIES AND COMBINATIONS IN RESTRAINT OF TRADE



§ 26. Injunctive relief for private parties; exception; costs

 Any person, firm, corporation, or association shall be entitled to sue for and have injunctive relief, in any court of
the United States having jurisdiction over the parties, against threatened loss or damage by a violation of the
antitrust laws, including sections two, three, seven and eight of this Act [15 USCS §§ 13, 14, 18, and 19], when and
under the same conditions and principles as injunctive relief against threatened conduct that will cause loss or
damage is granted by courts of equity, under the rules governing such proceedings, and upon the execution of
proper bond against damages for an injunction improvidently granted and a showing that the danger of irreparable
loss or damage is immediate, a preliminary injunction may issue: Provided, That nothing herein contained shall be
construed to entitle any person, firm, corporation, or association, except the United States, to bring suit in equity for
injunctive relief against any common carrier subject to the provisions of the Act to regulate commerce, approved
February fourth, eighteen hundred and eighty-seven, in respect of any matter subject to the regulation, supervision,
or other jurisdiction of the Interstate Commerce Commission. In any action under this section in which the plaintiff
substantially prevails, the court shall award the cost of suit, including a reasonable attorney's fee, to such plaintiff.

History

(Oct. 15, 1914, ch 323, § 16, 38 Stat. 737; Sept. 30, 1976, P.L. 94-435, Title III, § 302(3), 90 Stat. 1396.)

Annotations

Notes


REFERENCES IN TEXT:

  "The antitrust laws", referred to in this section, are defined for purposes of the Clayton Antitrust Act (Act Oct. 15,
1914) in 15 USCS § 12.

  "The Act to regulate commerce, approved February fourth, eighteen hundred and eighty seven", referred to in this
section, is Act Feb. 4, 1887, ch 104, 24 Stat. 379, popularly known as the Interstate Commerce Act of 1887, which
formerly appeared as 49 USCS §§ 1 et seq. Act Oct. 17, 1978, P.L. 95-473, 92 Stat. 1466, repealed most of this Act
and replaced it with subtitle IV of Title 49, Interstate Commerce, which now appears as 49 USCS §§ 10101 et seq.
For further information, consult tables and provisions preceding 49 USCS § 10101.

AMENDMENTS:

  1976. Act Sept. 30, 1976, inserted "In any action under this section in which the plaintiff substantially prevails,
the court shall award the cost of suit, including a reasonable attorney's fee, to such plaintiff."


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Comparing: Current Effective and Archived 1994

                                                   15 USCS § 26
                             Current through Public Law 117-262, approved December 21, 2022.

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MONOPOLIES AND COMBINATIONS IN RESTRAINT OF TRADE (§§ 1 - 38)



§ 26. Injunctive relief for private parties; exception; costs
          Any person, firm, corporation, or association shall be entitled to sue for and have injunctive relief, in any
          court of the United States having jurisdiction over the parties, against threatened loss or damage by a
          violation of the antitrust laws, including sections two, three, seven and eight of this Act [15 USCS §§ 13, 14,
          18, and 19], when and under the same conditions and principles as injunctive relief against threatened
          conduct that will cause loss or damage is granted by courts of equity, under the rules governing such
          proceedings, and upon the execution of proper bond against damages for an injunction improvidently
          granted and a showing that the danger of irreparable loss or damage is immediate, a preliminary injunction
          may issue: Provided, That nothing herein contained shall be construed to entitle any person, firm,
          corporation, or association, except the United States, to bring suit in equity for injunctive relief against any
          common carrier subject to the provisions of the Act to regulate commerce, approved February fourth,
          eighteen hundred and eighty-seven, in respect of any matter subject to the regulation, supervision, or other
          jurisdiction of the Interstate Commerce Commission. jurisdiction of the Surface Transportation Board under
          subtitle IV of title 49, United States Code [49 USCS §§ 10101 et seq.]. In any action under this section in
          which the plaintiff substantially prevails, the court shall award the cost of suit, including a reasonable
          attorney's fee, to such plaintiff.

History


HISTORY:


(Oct. 15, 1914, ch 323, § 16, 38 Stat. 737; Sept. 30, 1976, P. L. 94-435, Title III, § 302(3), 90 Stat. 1396; Dec. 29,
1995, P. L. 104-88, Title III, Subtitle B, § 318(3), 109 Stat. 949.


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